Case 2:05-cv-02406-BBD-dkv Document 32 Filed 08/25/05 Page 1 of 3 Page|D 20

IN THE UNITED S'I`ATES DISTRICT COURT
FOR THE WESTERN DISTR_ICT OF TENNESSEE
WESTERN DIVISION

 

JAMES SULLIVAN,

 

Plaintiff,
v. NO. 05-2406 DV

BOYD GAMING CORPORATION

d/b/a SAM’S TOWN CASINO TUNICA,
MISSISS[PPI GAMING COMMISSION,
WILLIAM ANDERSON, individually and
in his capacity as Sam’s Town Employee,
PAT HAWKINS, individually and in

his capacity as a Mississippi Gaming
Offlcial, and FAYE PERK]NS,

Defendants.

 

AGREED ORDER GRANTING DEFENDANT FAYE PERKINS
ENLARGEMENT OF TIME TO FILE RESPONSIVE PLEADINGS

 

THIS CAUSE this date came on for hearing of the motion B w of the Defendant Faye
Perkins, (hereinatter “this Defendant”) for an enlargement of time to tile responsive pleadings to the
complaint asking that the Court enter an Order granting this Defendant an enlargement of time to
September 6, 2005, in order for this Defendant to specially appear for assertion of her Rule 12
defenses, to answer the complaint, or to otherwise plead, and the Court having been advised that
counsel are in agreement with this request, finds that the motion is well taken and should be, and is
hereby, sustained

IT IS, THEREFORE, ORDERED AND ADJUDGED that the motion is hereby sustained and

that this Defendant shall have up to and including the date of Septernber 6, 2005, within which t

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with Flu|e 58 and/or 79(a) FHCP on

Case 2:05-cv-O2406-BBD-dkv Document 32 Filed 08/25/05 Page 2 of 3 Page|D 21

specially appear for assertion of any Rule 12 defenses, to file her answer to the complaint or
otherwise plead without prejudice to any jurisdictional, procedural and substantive ri ght, defense or
contention which this Defendant may assert in response to the Complaint.

SO ORDERED AND ADJUDGED on this the O? l/¢ Mday of August, 2005.

UNITED sTATEs MAGISTI€ATE JUDGE

AGREED AND APPROVED:

   
 

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S R. NOWLIN (BPR No. 02 330 Z)
orton & Germany, PLLC

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August 29, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
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Honorable Bernice Donald
US DISTRICT COURT

